         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 1 of 12



                       IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


       Plaintiff,

V.                                                    Case No. 21-CR-003(RCL)

JACOB ANTHONY CHANSLEY,

       Defendant.


     DEFENDANT'S REPLY TO GOVERNMENT'S OPPOSITION TO DEFENDANT'S
     MOTION TO REOPEN DETENTION HEARING AND FOR PRETRIAL RELEASE

       The Government's Response provided the Court with three(3) Exhibits. The

Government affirmatively represented to the Court they demonstrated the Defendant was not

welcomed into the U.S. Capitol by Police Officers, nor a mere follower among the riotous

crowd, nor a peaceful protestor at the United States Capitol on January 6, 2021.

       The three (3)Exhibits ofthe Government do not support the proposition propounded by

the Government.


        Exhibit 1 does not depict the Defendant "storming" anywhere. They depict the Defendant

well in the back of a crowd walking up the stairs to the upper west terrace ofthe Capitol. The

Government affirmatively represents to the Court that those in the presence of the Defendant at

that time were part of the "mob" that overran offices holding a Police line at the top of the

scaffolding leading to the first story ofthe U.S. Capitol building at approximately 2:10 p.m.

       The importance ofsemantics cannot be underestimated.

       The Government continues to deny the reality that the flagpole carried by the Defendant

was not a "dangerous weapon," It was comprised of a flagpole which the Government
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 2 of 12



characterized, at the Court's prodding at the original hearing, as dangerous. The Government did

not produce the flagpole at the original hearing.

       The Government has not responded to the assertion by the Defendant that the flagpole's

fmial was not affixed in a fashion which would render it dangerous, but rather, was solely affixed

utilizing zip ties. It had no screw to affix it to the pole. It was a sheath with no screw or nail. It

had a plastic zip tip which held the flag too. The Government has not even gone so far as to

indicate to the Court a willingness to provide to the Court for inspection the flagpole and fmial

which has been in the possession ofthe Government since the time the Defendant voluntarily

surrendered himselfto Federal authorities in January, 2021.

       In an act of deflection, the Government chooses to mischaracterize the actions of the

Defendant as they relate to the Government's Response Exhibit 1.

       Defense counsel took the Capitol tour accorded to Defense counsel as part ofthis and

other cases involving Defendants present at the Capitol on Janu£iry 6,2021.

       Indeed, the Defendant is depicted in Exhibit 1 on U.S. Capitol CC TV video walking up

the stairs behind countless other individuals. The Government ignores the Exhibit(link)

previously provided to this Court in its Motion herein which depicts the Defendant in an elevated

circular grass region outside of the Capitol on the upper west terrace harmlessly dilly dallying

around and permitting others to take selfies with him, all the while countless other individuals

were proceeding with their entry into the U.S. Capitol.

       As noted, semantics are important.

       As a matter of public record, the Government has confirmed the first barricades

surrounding the Capitol were breached at approximately 12:53 p.m., well before the completion
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 3 of 12



ofthe speech then being conducted by former President Trump at the Ellipse. This was the first

wave.



        The Government has confirmed as a matter of public record that at approximately 2:00

p.m., barricades on the east side of the Capitol building were breached. This was the second

wave.



        The Government has confirmed as a matter ofrecord that at approximately 2:10 p.m.,

scores of individuals reached the doors to the Capitol building on the west side ofthe Capitol at

approximately 2:10 p.m. and the Capitol building itself was breached at 2:11 p.m. This was the

third wave.


        The Defendant did not physically enter into the Capitol building until well after scores of

other individuals did so on the west side ofthe Capitol building.

        The Government is correct only in its assertion that the Defendant was not in the third

wave of the breach of the U.S. Capitol. Quite to the contrary of having "literally spearheaded it"

as asserted by the Government,the Defendant was part of the fourth wave.

        The Defendant then proffered yet another Capitol CC TV camera viewing and marked

same as Exhibit 2, purportedly supporting the proposition that the Defendant was "spearheading"

the entry into the Capitol. There are a number of facets of the video comprising Exhibit 2 which

cannot by the Government be denied. First, the image clearly depicts the Defendant peacefully

entering into the building without breaking through, over, crossing, traversing any line, barricade

or fencing or in any fashion aggressively interacting with anyone, much less law enforcement.

        The Court at the original hearing brought significant attention to the entry by the

Defendant into the Capitol concurrently with individuals who were entering into the Capitol

through a window reflected in the same video frame as the Defendant's doorway entry.
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 4 of 12



        Close examination of this doorway reflects and depicts that the interior ofthe Capitol is

markedly accented by pillars, columns and walls which butt into the main hallway, effectively

creating a blind and a comer which would have precluded the Defendant from entering the

building with an ability to witness others who were violently entering into an otherwise public

building through a window.

        It should also be noted that the most casual of Government guided visits by a profoundly

hearing-impaired counsel gave rise to the inescapable observance of the resonating nature of

virtually any and all sounds made within the Capitol hallways, necessarily rendering any noise

associated with a crowd and the breaking of windows or entry by other individuals into the

Capitol through a window nothing short of a din.

        The Government's Exhibit 3 is yet another Capitol CC TV camera video depicting the

Defendant doing exactly that which he has at all times confirmed that he had done, namely to

help law enforcement empty out the Capitol when then President Trump directed everyone to go

home.


        In fact, the video depicts the Defendant walking in line with law enforcement who

appeared to have made the Defendant part of their team.

        Equally troubling within the context of the Government's patent misrepresentation ofthat

which is depicted in the videos is the fact that the Govemment has not, to date, chosen to

disclose these videos to the Defendant as part of the discovery herein.

        The Govemment has made much ado as a matter of public record in countless cases

arising out of events occurring on January 6,2021 at the Capitol about the scope and extent of

videos and discovery which renders these cases either complex and/or subject to the tolling of

the Speedy Trial Act calculations.
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 5 of 12



       The Government has repeatedly, as a matter of public record in cases arising out of the

events of January 6,2021, asserted that the "relevant" materials have been identified by the

Government and disclosed to Defense counsel. Notwithstanding same,the Court is now

compelled to recognize that the Government is apparently opting to elect to make its relevance

determinations only at times and only to the extent convenient to the Government.

       None of the three Exhibits provided by the Government in its response in opposition to

the Defendant's Motion herein even remotely characterize the Defendant as violent, a threat, or

dangerous. The Government has simply elected not to even address the all-important issue ofthe

erroneously asserted dangerous nature of the flagpole and flnial, this despite the overwhelming

reliance by this Court on the representations by the Government that the flagpole and finial

constituted the weapon the Court was compelled to identify as a matter of public record as being

dangerous and despite the fact that the flagpole and fmial were never produced by the

Government, even after the issue of its capability to be used as a dangerous weapon was brought

to the fore by the Defendant in his Motion herein.

       The fact that the finial was not affixed to the flagpole in a fashion which would permit it

to be utilized as a weapon is new information which, by virtue of the affirmative

misrepresentations by the Government to this Court, is not simply new, but, in light of the

original ruling of this Court, highly probative and material to the issue of whether there are

conditions of release that will reasonably assure the appearance ofthe Defendant as required and

the safety of any other person and the community.

       The crux ofthe Defendant's Motion to Reopen the Detention Hearing is not comprised of

the Defendant's own evaluation of his character or the strength of the case against him, but

rather, comprised of"truly changed circumstances," the unexpected reality that the "dangerous"
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 6 of 12



weapon was nothing more than a flagpole with a flnial that could not be utilized, and within the

context of this case, evidence information was actually only available to the Government.

Remember,the prior hearing was conducted remotely with Defendant confined and not in a

position to share information by whispering in the ear of his defense attorney. The Court should

have the unmitigated right and entitlement to rely on the integrity of the representatives of the

Department of Justice handling prosecution of any case. The fact that the Court did so at the

original hearing with respect to representations made about the flagpole and flnial is not worthy

of challenge. What is worthy ofthe attention ofthis Court is the fact that the Government was

indeed in possession of the flagpole and flnial at the time of the original hearing and remains in

possession of the original flagpole and flnial to the present date. Notwithstanding same, and

despite the important nature ofthe issue relating to the purported "danger" presented by the

flagpole and flnial, described by the Government to be a "spear," the Government has chosen not

only to not present the flagpole and flnial, but has chosen to simply not discuss anything having

to do with same.


       The Government appears to assert that the videos that were provided by the Defendant as

part of his Motion herein were of no value because they are comprised of YouTube video links.

In fact, so as to permit this Court to have ready access to a link to gamer viewing to the videos, a

number of the videos that were provided by the Defendant as part of its Motion filed herein were

purposely placed by the Defendant's counsel on YouTube to create the very links provided the

Court. Notwithstanding, there is zero relevance as to whether the videos were on any Intemet

platform.

        Without referencing the flagpole and flnial, the Government proceeds to shift emphasis in

its response to focus on the political opinions and leanings of the Defendant, leaving the
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 7 of 12



Defendant and the rest ofthe world with the inescapable need to conclude that the Government is

comfortable with deviating from the longstanding concept of presumption ofinnocence and the

mischaracterization ofthe risk of a Defendant as part of the challenging of any efforts for pretrial

release simply because ofthe thoughts, opinions, or political leanings embraced, advocated or

held by an accused. It is respectfully suggested to the Court that the Government's reliance on

the Defendant's use offour-letter words as a basis for the indefinite pretrial detention in solitary

confinement is simply without precedent. The utilization of vulgarities as a basis for Federal

criminal prosecution, much less detention in solitary confinement for an indefinite period, is

sheer folly.

        Moreover,the emphasis by the Defendant in his Motion on the effect ofthe COVID-19

protocols is material, especially in light of the indefinite nature of same.

       The unwieldy and cumbersome nature of garnering access to the Defendant

telephonically, via video feed, or by even in person, is spotty, troubling, and unreliable.

       In June,2021, after having visited in person with the Defendant on two time-consuming

and logistically cumbersome prior occasions since January, 2021, during which a surgical face

mask was all that was required to gamer access to the Defendant, Defense counsel traveled to

Washington, DC and on to Alexandria, Virginia in June, 2021 for a planned in-person meeting

with the Defendant only to be advised for the first time at the front door that a surgical mask was

not acceptable, an N95 was required, and further, that a face shield was required. A great deal of

the limited time slated for in-person visiting with the Defendant was consumed navigating the

administrative and bureaucratic infrastructure associated with the facility at which the Defendant

was detained to ultimately gamer limited temporal access to the distraught Defendant for an in-

person meeting.
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 8 of 12



       It is not without a touch of disappointment that one notes the deviation by the

Government from its high bar ofconduct within the context of prosecutions. The Government

has mischaracterized the argument of the defense by asserting that the Defendant argues that "he

would no longer be a danger ifreleased." Rather, the defense has argued that the Defendant

was never a danger. The Government characterizes its citation of quotes from open, notorious,

public and readily-easily-available Facebook musings of a man who wore horns, a fur, and was

shirtless on a winter day in Janueiry in Washington, DC,to support the proposition that the

Government has continued to "investigate" this case, implying that the Government's recent

investigative undertakings brought forth a treasure trove of knowledge about the Defendant.

This does not square with the Government's knowledge of and familiarity with the Defendant's

longstanding status as a comedic source of non-sensical banter, the crux of which illustrate zero

escalation in "rhetoric," as asserted by the Government, but rather, illustrate the Defendant's

longstanding mental health vulnerabilities. It was Defendant who was open and notorious with

the Government. It was Defendant's counsel who brought same to the attention of the

Government.


       The social media "evidence" cited by the Government is generally accurately recited,

however, contains nothing of relevance or value.

       The Government is fixated on utilizing more inflammatory words designed to

misrepresent to the Court the nature and character of the Defendant's actions and words than it is

seeking to pursue justice.

       The Defendant's vulnerabilities were placed front and center in 2006 military medical

records corresponding to Defendant. These records were recently shared with the Government,

the doctor assigned to conduct the psych exam of Defendant and this Court.
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 9 of 12



       The medical records were received from the Government, by and through its military,

during the week preceding the filing deadline date corresponding to this Reply. The records were

then promptly circulated. The military's medical records clearly depict a vulnerable then

service-member with mental health issues which have clearly been exacerbated by the protracted

solitary confinement the Defendant has been compelled to endure for approximately 150

consecutive days, a psychosocial stressor.

       In August 2006, the Defendant was serving on the USS Kitty Hawk as a member of the

U.S. Armed Forces. On August 6, 2006, the Defendant had his first consultation with the Ship's

psychologist at which time the Defendant reported that he wanted to know if he was "either

walking the line of being very intelligent or insane."

       On August 29,2006, the Defendant again was examined by the Ship's psychologist about

whether his views are "indicative of genius or insanity." Diagnostic impressions included noting

the presence of symptoms of anxiety disorder, schizotypal personality features, transient in

       On September 12, 2006, again was examined by the Ship's psychologist, presenting with

concerns of being "crazy." The Defendant's mood during the interview was described as

"euthymic"(cheerfulness and tranquility), which is commonly experienced among bipolar

individuals.


       The Government cannot deny that its position and posture in myriad cases being

concurrently prosecuted by the Government of individuals involved in events occurring at the

Capitol on January 6,2021 are divergent. Some involve actual acts of violence and destruction

to which the Government either did not object or challenge pretrial release, did not appeal

decisions granting pretrial release, or tacitly consented to pretrial release. The Government

ignores this in its Response. Here the Government has chosen to simply not address the reality
        Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 10 of 12



that it opted to make characterizations to this Court about the dangerous nature of a flagpole and

flniai despite possessing the very flagpole and finial which was assembled in such a fashion as to

preclude same from being used for dangerous acts. The Government uses words like

"obsessing" and "spewing rhetoric" to describe Defendant. Characterizing Officer Robishaw's

comments as demonstrating that he "begs" those in the Capitol to not be violent when,in truth,

the Government knows the words of Officer Robishaw were anything but begging in nature.

       The Government is being less than transparent with respect to its characterization of the

whereabouts ofthen-Vice President Pence on January 6,2021. In response to the proffering by

the Defendant of a video showing the Vice President's motorcade departing the Capitol at 1:59

p.m., the Government has stated unequivocally,"This assertion is false."

       The Government, in the very next sentence states,"As confirmed by the U.S. Secret

Service, then-Vice President Mike Pence remained in the U.S. Capitol building "a/irf Grounds

throughout the entire riot on January 6,2021."

       The Government has changed its story.

       The Indictment herein alleges U.S. Capitol was a protected building. The U.S. Secret

Service has acknowledged as a matter of record that the then-Vice President Pence was escorted

from the Capitol building to other buildings in the Capitol complex. The Government fails to

state, rebut, or otherwise refute with any credibility the fact that the Government is speaking out

of both sides of its mouth, indicting the Defendant and hundreds of others of felonies requiring

the status of the Capital to be "protected" within the meaning of 18 USC Section 17.52(a). The

U.S. Code does not provide for the unilateral expansion by the Government ofthe geographic

scope of a protected building by simply adding the words "... and Grounds."




                                                 10
        Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 11 of 12



       In the present case, the Government has not stated the time at which the former Vice

President Pence departed the U.S. Capitol building to other buildings and areas in the Capitol

complex. This is a matter subject to further discovery and germane within the context ofthe

Defendant's present Motion only to the extent that it clearly demonstrates the Government's

willingness to prosecute in a fashion which falls well below the standard bar of excellence

otherwise routinely employed by the Department of Justice.

       The Defendant is not a threat. The Defendant has never been a threat. The Defendant

was not violent. The Defendant is not violent. The Defendant was not a part ofthe first breach

of the U.S. Capitol building. The issue ofthe whereabouts ofthe former Vice President on

January 6,2021 is one which will be front and center not only in the present case, but in

hundreds ofother cases pending in this District.

       The Defendant has zero social media presence at this time. The Defendant failed to note

for the Court the fact that Defendant's prior social media presence was not substantial and not

well followed and nothing short of patent indicia of a long-standing vulnerability.

       The only spewage of the Defendant is that which supports the proposition that the

Defendant is possessed of vulnerabilities which should not be exacerbated so as to render the

Defendant so far outside the proverbial Bell curve of"normalcy," as to preclude his role in his

own defense. There are no sanctioned "thought-police" in the United States of America, nor

should there be. While the Government may feel otherwise, our Courts prohibit same. As seen

in the present Motion, spewage appears to be bilaterally employed within the context of this

case. The difference is the spewage ofthe Defendant is indicia of mental health vulnerabilities

while the spewage of the Government is further indicia of a wholesale departure from

fundamental tenets ofjustice including fairness, accuracy ofrepresentations to the Court,




                                                11
         Case 1:21-cr-00003-RCL Document 46 Filed 06/11/21 Page 12 of 12



accurate depictions of the words and actions of the Defendant, and the need for transparency

within the context of allegations of danger or of dangerousness of a flagpole with a zip-tie-

affixcd finial incapable of being turned upside down without the finial being induced by gravity

to fall off. Basically, within the context of this case, public access to the flagpole and finial did

not previously exist. Access to the flagpole and finial by the Defendant is, at this time, non

existent. The Government knows that this is the question at issue within the context of this

Motion. The Government has chosen not to respond to the assertions of the Defendant in his

Motion herein. The Government does not mention the flagpole. The Government has not

produced the flagpole. The circumstances herein have not only truly changed, but in significant

sense, demonstrate a trend by the Government away from that which would constitute

responsible discharge of duties as a representative of the Department of Justice to ensure that

justice is done versus to gamer favorable optics to support the actions of the Department of

Justice. Compassion, not solitary, is required.

        As a final matter, it is impossible to abate a threat which never existed.



                                       KODNER WATKINS



                                        By:      /s/Alberts. Watkim
                                              ALBERT S. WATKINS, MO#34553
                                              1200 South Big Bend Boulevard
                                              St. Louis, Missouri 63117
                                              Phone: (314)727-9111
                                              Facsimile: (314)727-9110
                                              E-mail: albertswatkins@kwklaw.net


                                  CERTIFICATE OF SERVICE


       Signature above is also certification that on June 11, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.



                                                  12
